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10. I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



Date: 011912025



                                                                                 Signature of applicant


                                                                                 Hayley R. Winograd
                                                                                 Printed name of applicant
                                                                                            �

                                                     CONSENT OF LOCAL COUNSEL

I consent to the foregoing designation.


Date:   01/9/2025


                                                                                 Isl Victoria A. Newmark
                                                                                Signature of Local Counsel


                                                                                   Victoria A. Newmark
                                                                                 Printed name of Local Counsel




          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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